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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


IN RE: NEW ENGLAND COMPOUNDING )
       PHARMACY PRODUCTS       )
        LIABILITY LITIGATION   ) MDL No. 1:13-md-2419-FDS
                               )
This Document Relates to:      ) Judge Rya Zobel
                               )
        All Cases              )
                               )

                     AFFIDAVIT OF MATTHEW P. MORIARTY

     Being first duly sworn, Affiant states:

     1.     My name is Matthew P. Moriarty. I am a lawyer licensed to practice in three
            states, and have been admitted to practice in 7-9 different federal courts. I
            graduated from law school in 1981 and have spent the majority of my practice
            defending people and companies in scientific litigation involving the practice of
            medicine, or the making and selling of pharmaceutical products and medical
            devices.

     2.     My Firm was retained by Pharmacists Mutual Insurance Company (PMIC) to
            defend Ameridose LLC ("AMD") in this litigation. I have been the member of
            the Fi    primarily involved in the factual workup, discovery, and court
            appearances in Boston.

     3.     In the course of our representation I made reasonable efforts to determine who,
            among the owners, managers or agents, would qualify by personal or institutional
            knowledge to testify as to certain facts pertinent to the allegations in the Plaintiffs'
            Complaints, if required. In evaluating this issue I took into account things such as
            knowledge of: the historical development of the business from 2006 until 2012;
            Ameridose's overall business; what products the Company made, sold or tested;
            interactions between Ameridose employees and MSM,NECC or other defendants;
            and the shrinkage of the Company over the years after 2012.

     4.     In my professional opinion there were seven people who would even possibly
            qualify as 30(b)(6) witnesses. Three would have needed substantial "education"
            before testifying. Of the remaining four, two are former employees who would be
            considered managerial level. The other two were senior managers or agents, one
            ofthem also being a part owner.

     5.     Each of those seven individuals has a lawyer. After the St. Thomas Entities
            issued a deposition notice I spoke with the people whom I reasonably believed
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                  necessary, and read the pleadings of record in order to ascertain whether any of
                  the seven people would consent to testify as a 30(b)(6) witness. After doing so, it
                  is my understanding that 1)the seven individuals would not consent to testify as a
                  30(b)(6) witness for Ameridose; and 2)if compelled to take the stand, they would
                  invoke their rights not to testify based on the Fifth Amendment to the United
                  States Constitution.

         6.       In my professional opinion, there are no people who could be adequately
                  "educated" to qualify as a meaningful 30(b)(6) witness. Between the limited
                  documents available for searching, and the fact that all owners and key managers
                  or agents will invoke their rights under the Fifth Amendment, meaningful
                  education cannot be done.

         7.       I was also involved in the securing of hard and electronic documents in order to
                  fulfill preservation obligations. What follows is based on my personal knowledge
                  combined with discussions with the document vendor.

         8.       Typically the vendor "processes" the electronic documents. Processing includes
                  loading them into a searchable format, and entails de-duplication and the
                  elimination of things like system files, as well as Bates stamping. At that point
                  one has a platform from which traditional discovery can take place - the review
                  and production of documents.

         9.       Here, among the universe of imaged and preserved documents, it would have
                  been very costly to "process" them, much less sort them into categories, review
                  for attorney-client privilege, etc. There was no reason to do all that work and
                  incur that cost if discovery was stayed and everyone was in settlement mode.
                  Thus, only a limited number of documents were ever loaded into a searchable
                  database. The costs of "processing" all the documents collected would be in
                  excess of $1,000,000. In addition, there would be necessary expense for attorney
                  review for relevance and privilege.

         Further Affiant Sayeth Naught.



                                                             Matthew P. Moriarty



         Sworn to and subscribed before me, a Notary Public in Cuyahoga County, Ohio, t is 2 2.1‘

day of May,2015.
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                          PAUL L. JANOWICZ,
                               Attorney
                          Notary Public. State of Ohio
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                            no expiration date.
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